             Case 6:18-bk-06437-KSJ          Doc 8     Filed 10/31/18      Page 1 of 56



                          UNITED STATES BANKRUPTCY COURT
                             MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION

 IN RE:                                                                 CASE NO.: 6:18-bk-06437-KSJ
                                                                                        CHAPTER 7
 James S. Pendergraft, IV,
          Debtor.
 _________________________________/


                    MOTION FOR RELIEF FROM AUTOMATIC STAY

                                 NOTICE OF OPPORTUNITY TO
                              OBJECT AND REQUEST FOR HEARING

 Pursuant to Local Rule 2002-4, the Court will consider the relief requested in this paper without
 further notice or hearing unless a party in interest files a response within twenty one (21) days from the
 date set forth on the attached proof of service, plus an additional three days for service if any party
 was served by U.S. Mail.

 If you object to the relief requested in this paper, you must file a response with the Clerk of the Court
 at George C. Young Federal Courthouse, 400 W. Washington Street, Suite 5100, Orlando, FL 32801
 and serve a copy on the movant’s attorney, Attorney for Secured Creditor, at Robertson, Anschutz &
 Schneid, PL, 6409 Congress Ave., Suite 100, Boca Raton, FL 33487, and any other appropriate
 persons within the time allowed. If you file and serve a response within the time permitted, the Court
 will either schedule and notify you of a hearing, or consider the response and grant or deny the relief
 requested without a hearing.

 If you do not file a response within the time permitted, the Court will consider that you do not oppose
 the relief requested in the paper, will proceed to consider the paper without further notice or hearing,
 and may grant the relief requested.


       Secured Creditor, Nationstar Mortgage LLC d/b/a Mr. Cooper, by and through the

undersigned counsel, hereby moves this Court, pursuant to 11 U.S.C. § 362(d), for a modification

of the automatic stay provisions for cause, and, in support thereof, states the following:

   1. Debtor(s), James S. Pendergraft, IV, filed a voluntary petition pursuant to Chapter 7 of

       the United States Bankruptcy Code on October 18, 2018.

   2. Jurisdiction of this cause is granted to the Bankruptcy Court pursuant to 28 U.S.C. §


                                                                                          6:18-bk-06437-KSJ
                                                                                                  18-225545
                                                                                                       MFR
        Case 6:18-bk-06437-KSJ         Doc 8     Filed 10/31/18      Page 2 of 56



   1334, 11 U.S.C. § 362(d), Fed. R. Bankr. P. 4001(a), and all other applicable rules and

   statutes affecting the jurisdiction of the Bankruptcy Courts generally.

3. Secured Creditor hereby waives the requirements of 11 U.S.C. § 362(e). The automatic

   stay of any act against property of the estate under § 362(a) shall continue until this Court

   orders or the stay is otherwise terminated by operation of law.

4. On June 9, 2006, Debtor(s) executed and delivered a Promissory Note (“Note”) and a

   Mortgage (“Mortgage”) securing payment of the Note in the amount of $267,700.00 to

   PHH Mortgage Corp (fka Cendant Mortgage Corp). The Mortgage was recorded on

   February 22, 2007 in Book 27218 at Page 199 of the Public Records of Prince Georges

   County, Maryland. The loan was transferred to Secured Creditor. True and accurate

   copies of documents establishing a perfected security interest and ability to enforce the

   terms of the Note are attached hereto as Composite Exhibit “A.” The documents include

   copies of the Note with any required indorsements, Recorded Mortgage, Assignment(s) of

   Mortgage, and any other applicable documentation supporting the right to seek a lift of

   the automatic stay and foreclose, if necessary.

5. The terms and conditions of the Note and Mortgage were later amended pursuant to the

   Loan Modification Agreement (“Agreement”) made June 23, 2014. Said Agreement

   created a new principal balance of $312,548.51.         A true and accurate copy of the

   Agreement is attached hereto as Composite Exhibit “A”.

6. Attached are redacted copies of any documents that support the claim, such as promissory

   notes, purchase orders, invoices, itemized statements of running accounts, contracts,




                                                                                  6:18-bk-06437-KSJ
                                                                                          18-225545
                                                                                               MFR
        Case 6:18-bk-06437-KSJ          Doc 8     Filed 10/31/18     Page 3 of 56



   judgements, mortgages, and security agreements in support of right to see a lift of the

   automatic stay and foreclose if necessary.

7. The mortgage provides Secured Creditor a lien on the real property located at 7904 Anne

   Court, Clinton, Maryland 20735, in Prince Georges County, and legally described as

   stated in the mortgage attached in Composite Exhibit “A.”

8. The terms of the aforementioned Note and Mortgage have been in default, and remain in

   default, since May 1, 2018.

9. The appraised value of the property is $281,300.00. See Exhibit “B” which is attached

   hereto and permissible as a property valuation under Fed. R. Evid. 803(8).

10. As of the date of this Motion, the Debtor has not filed schedules or Statement of

   Intentions pertaining to the treatment of the subject property. The Trustee has not

   abandoned the property.

11. Secured Creditor’s security interest in the subject property is being significantly

   jeopardized by Debtor(s)’ failure to comply with the terms of the subject loan documents

   while Secured Creditor is prohibited from pursuing lawful remedies to protect such

   interest. Secured Creditor has no protection against the erosion of its collateral position

   and no other form of adequate protection is provided.

12. If Secured Creditor is not permitted to enforce its security interest in the collateral or be

   provided with adequate protection, it will suffer irreparable injury, loss, and damage.

13. Secured Creditor respectfully requests the Court grant it relief from the Automatic Stay in

   this cause pursuant to §362(d)(1) of the Bankruptcy Code, for cause, namely the lack of




                                                                                   6:18-bk-06437-KSJ
                                                                                           18-225545
                                                                                                MFR
            Case 6:18-bk-06437-KSJ         Doc 8     Filed 10/31/18       Page 4 of 56



       adequate protection to Secured Creditor for its interest in the above stated collateral. The

       value of the collateral is insufficient in and of itself to provide adequate protection which

       the Bankruptcy Code requires to be provided to the Secured Creditor. Secured Creditor

       additionally seeks relief from the Automatic Stay pursuant to §362(d)(2) of the

       Bankruptcy Code, as the collateral is unnecessary to an effective reorganization of the

       Debtor’s assets.

   14. Secured Creditor has incurred court costs and attorney’s fees in this proceeding and will

       incur additional fees, costs and expenses in foreclosing the Mortgage and in preserving

       and protecting the property, all of which additional sums are secured by the lien of the

       mortgage. Secured Creditor seeks an award of its reasonable attorneys’ fees and costs, or

       alternatively, leave to seek recovery of its reasonable attorneys’ fees and costs in any

       pending or subsequent foreclosure proceeding.

   15. A Proposed Order accompanies this Motion. See Exhibit “C” attached hereto.

       WHEREFORE, Secured Creditor, prays this Honorable Court enter an order modifying

the automatic stay under 11 U.S.C. § 362(d) to permit Secured Creditor to take any and all steps

necessary to exercise any and all rights it may have in the collateral described herein, to gain

possession of said collateral, to waive the 14-day stay imposed by Fed.R.Bankr.P. 4001(a)(3), to

seek recovery of its reasonable attorneys’ fees and costs incurred in this proceeding, and to any

such further relief as this Honorable Court deems just and appropriate.

Date: October 31, 2018




                                                                                      6:18-bk-06437-KSJ
                                                                                              18-225545
                                                                                                   MFR
           Case 6:18-bk-06437-KSJ          Doc 8   Filed 10/31/18   Page 5 of 56




                                            ROBERTSON, ANSCHUTZ & SCHNEID, P.L.
                                            Authorized Agent for Secured Creditor
                                            6409 Congress Ave., Suite 100
                                            Boca Raton, FL 33487
                                            Telephone: 561-241-6901
                                            Facsimile: 561-997-6909

                                            By: _/s/ Shreena Augustin___________
                                                Shreena Augustin, Esquire
                                                Email: saugustin@rasflaw.com
                                                FL Bar Number: 0117598


                               CERTIFICATE OF SERVICE


       I HEREBY CERTIFY that on October 31, 2018, I electronically filed the foregoing with

the Clerk of Court by using the CM/ECF system, and a true and correct copy has been served via

CM/ECF or United States Mail to the following parties:

James S. Pendergraft, IV
609 Virginia Drive
Orlando, FL 32803

Justin R Clark
Attorneys Justin Clark & Associates PLLC
500 Winderley Place, Suite 100
Maitland, FL 32751

Arvind Mahendru
5703 Red Bug Lake Road
Suite 284
Winter Springs, FL 32708




                                                                                 6:18-bk-06437-KSJ
                                                                                         18-225545
                                                                                              MFR
           Case 6:18-bk-06437-KSJ        Doc 8   Filed 10/31/18   Page 6 of 56



United States Trustee - ORL7/13
Office of the United States Trustee
George C Young Federal Building
400 West Washington Street, Suite 1100
Orlando, FL 32801



                                          ROBERTSON, ANSCHUTZ & SCHNEID, P.L.
                                          Authorized Agent for Secured Creditor
                                          6409 Congress Ave., Suite 100
                                          Boca Raton, FL 33487
                                          Telephone: 561-241-6901
                                          Facsimile: 561-997-6909

                                          By: _/s/ Shreena Augustin___________
                                              Shreena Augustin, Esquire
                                              Email: saugustin@rasflaw.com
                                              FL Bar Number: 0117598




                                                                             6:18-bk-06437-KSJ
                                                                                     18-225545
                                                                                          MFR
Case 6:18-bk-06437-KSJ   Doc 8   Filed 10/31/18   Page 7 of 56




       COMPOSITE EXHIBIT “A”
Case 6:18-bk-06437-KSJ   Doc 8   Filed 10/31/18   Page 8 of 56
Case 6:18-bk-06437-KSJ   Doc 8   Filed 10/31/18   Page 9 of 56
Case 6:18-bk-06437-KSJ   Doc 8   Filed 10/31/18   Page 10 of 56
Case 6:18-bk-06437-KSJ   Doc 8   Filed 10/31/18   Page 11 of 56
Case 6:18-bk-06437-KSJ   Doc 8   Filed 10/31/18   Page 12 of 56
Case 6:18-bk-06437-KSJ   Doc 8   Filed 10/31/18   Page 13 of 56
Case 6:18-bk-06437-KSJ   Doc 8   Filed 10/31/18   Page 14 of 56
Case 6:18-bk-06437-KSJ   Doc 8   Filed 10/31/18   Page 15 of 56
Case 6:18-bk-06437-KSJ   Doc 8   Filed 10/31/18   Page 16 of 56
Case 6:18-bk-06437-KSJ   Doc 8   Filed 10/31/18   Page 17 of 56
Case 6:18-bk-06437-KSJ   Doc 8   Filed 10/31/18   Page 18 of 56
Case 6:18-bk-06437-KSJ   Doc 8   Filed 10/31/18   Page 19 of 56
Case 6:18-bk-06437-KSJ   Doc 8   Filed 10/31/18   Page 20 of 56
Case 6:18-bk-06437-KSJ   Doc 8   Filed 10/31/18   Page 21 of 56
Case 6:18-bk-06437-KSJ   Doc 8   Filed 10/31/18   Page 22 of 56
Case 6:18-bk-06437-KSJ   Doc 8   Filed 10/31/18   Page 23 of 56
Case 6:18-bk-06437-KSJ   Doc 8   Filed 10/31/18   Page 24 of 56
Case 6:18-bk-06437-KSJ   Doc 8   Filed 10/31/18   Page 25 of 56
Case 6:18-bk-06437-KSJ   Doc 8   Filed 10/31/18   Page 26 of 56
Case 6:18-bk-06437-KSJ   Doc 8   Filed 10/31/18   Page 27 of 56
Case 6:18-bk-06437-KSJ   Doc 8   Filed 10/31/18   Page 28 of 56
Case 6:18-bk-06437-KSJ   Doc 8   Filed 10/31/18   Page 29 of 56
Case 6:18-bk-06437-KSJ   Doc 8   Filed 10/31/18   Page 30 of 56
Case 6:18-bk-06437-KSJ   Doc 8   Filed 10/31/18   Page 31 of 56
Case 6:18-bk-06437-KSJ   Doc 8   Filed 10/31/18   Page 32 of 56
Case 6:18-bk-06437-KSJ   Doc 8   Filed 10/31/18   Page 33 of 56
Case 6:18-bk-06437-KSJ   Doc 8   Filed 10/31/18   Page 34 of 56
Case 6:18-bk-06437-KSJ   Doc 8   Filed 10/31/18   Page 35 of 56
Case 6:18-bk-06437-KSJ   Doc 8   Filed 10/31/18   Page 36 of 56
Case 6:18-bk-06437-KSJ   Doc 8   Filed 10/31/18   Page 37 of 56
Case 6:18-bk-06437-KSJ   Doc 8   Filed 10/31/18   Page 38 of 56
Case 6:18-bk-06437-KSJ   Doc 8   Filed 10/31/18   Page 39 of 56
Case 6:18-bk-06437-KSJ   Doc 8   Filed 10/31/18   Page 40 of 56
Case 6:18-bk-06437-KSJ   Doc 8   Filed 10/31/18   Page 41 of 56
Case 6:18-bk-06437-KSJ   Doc 8   Filed 10/31/18   Page 42 of 56
Case 6:18-bk-06437-KSJ   Doc 8   Filed 10/31/18   Page 43 of 56
Case 6:18-bk-06437-KSJ   Doc 8   Filed 10/31/18   Page 44 of 56
Case 6:18-bk-06437-KSJ   Doc 8   Filed 10/31/18   Page 45 of 56
Case 6:18-bk-06437-KSJ   Doc 8   Filed 10/31/18   Page 46 of 56
Case 6:18-bk-06437-KSJ   Doc 8   Filed 10/31/18   Page 47 of 56
Case 6:18-bk-06437-KSJ   Doc 8   Filed 10/31/18   Page 48 of 56
Case 6:18-bk-06437-KSJ   Doc 8   Filed 10/31/18   Page 49 of 56
10/26/2018                   Case 6:18-bk-06437-KSJ                       DocSDAT:
                                                                               8 Real Property
                                                                                   Filed       Search
                                                                                          10/31/18               Page 50 of 56


  Real Property Data Search

  Search Result for PRINCE GEORGE'S COUNTY
       View Map                         View GroundRent Redemption                                          View GroundRent Regi tration
       Tax Exempt                                                      Special Tax Recapture
       Exempt Class:                                                   NONE
     Account Identifier:                         Di trict 09 Account Number
                                                                 Owner Information
     Owner Name:                                 PENDERGRAFT JAMES S IV & EMMARITA                         Use:                         RESIDENTIAL
                                                                                                           Principal Residence:         YES
     Mailing Address:                            7904 ANNE CT                                              Deed Reference:              /05708/ 00166
                                                 CLINTON MD 20735-1508
                                                          Location & Structure Information
     Premises Address:                           7904 ANNE CT                                              Legal Description:
                                                 CLINTON 20735 0000
       Map:       Grid:       Parcel:       Sub                 Subdivision:       Section:      Block:     Lot:     Assessment        Plat     A-
                                            District:                                                                Year:             No:      5528
       0107       00C4        0000                              7850               02            1          4        2017              Plat
                                                                                                                                       Ref:

       Special Tax Areas:                                                       Town:                                           NONE
                                                                                Ad Valorem:
                                                                                Tax Class:                                      8

       Primary Structure Built           Above Grade Living Area               Finished Basement Area            Property Land Area       County Use
       1965                              1,450 SF                              YES                               11,134 SF                001

       Stories         Basement           Type                          Exterior        Full/Half Bath          Garage       Last Major Renovation
       1               YES                STANDARD UNIT                 BRICK           2 full/ 1 half
                                                                         Value Information
                                                 Base Value                  Value                        Phase-in Assessments
                                                                             A of                         A of               A of
                                                                             01/01/2017                   07/01/2018         07/01/2019
       Land:                                     100,700                     100,700
       Improvements                              114,000                     180,600
       Total:                                    214,700                     281,300                      259,100                   281,300
       Preferential Land                         0                                                                                  0
                                                                        Tran fer Information
       Seller: GARBER,HARRY M JR                                       Date: 06/22/1983                                  Price: $89,000
       Type ARMS LENGTH IMPROVED                                       Deed1 /05708/ 00166                               Deed2

       Seller:                                                         Date:                                             Price:
       Type:                                                           Deed1:                                            Deed2:

       Seller:                                                         Date:                                             Price:
       Type:                                                           Deed1:                                            Deed2:
                                                                       Exemption Information
     Partial Exempt Assessments:                 Class                                                     07/01/2018                   07/01/2019
     County                                      000                                                       0.00
     State:                                      000                                                       0.00
     Municipal:                                  000                                                       0.00|0.00                    0.00|0.00
       Tax Exempt                                                      Special Tax Recapture
       Exempt Class:                                                   NONE
                                                 Home tead Application Information
     Homestead Application Status: No Application

https://sdat.dat.maryland.gov/RealProperty/Pages/default.aspx                                                                                           1/2
10/26/2018                   Case 6:18-bk-06437-KSJ             DocSDAT:
                                                                     8 Real Property
                                                                         Filed       Search
                                                                                10/31/18      Page 51 of 56
                                          Homeowners Tax Credit Application Information
     Homeowners' Tax Credit Application Status: No Appl cation                      Date:




https://sdat.dat.maryland.gov/RealProperty/Pages/default.aspx                                                 2/2
Case 6:18-bk-06437-KSJ   Doc 8   Filed 10/31/18   Page 52 of 56
           Case 6:18-bk-06437-KSJ        Doc 8     Filed 10/31/18      Page 53 of 56




                        UNITED STATES BANKRUPTCY COURT
                           MIDDLE DISTRICT OF FLORIDA
                                ORLANDO DIVISION
                                www.flmb.uscourts.gov

 IN RE:                                                        CASE NO.: 6:18-bk-06437-KSJ
                                                                               CHAPTER 7
 James S. Pendergraft, IV,
        Debtor.
                                         /

            ORDER GRANTING RELIEF FROM THE AUTOMATIC STAY

       THIS CASE came on consideration without a hearing on Nationstar Mortgage LLC d/b/a
Mr. Cooper’s (“Secured Creditor”) Motion for Relief from Stay (Docket No. ##). No appropriate
response has been filed in accordance with Local Rule 2002-4. Accordingly, it is:

       ORDERED:
   1. Secured Creditor’s Motion for Relief from Automatic Stay is GRANTED.
   2. The automatic stay imposed by 11 U.S.C. § 362 is terminated as to the Secured Creditor’s
       interest in the following property located at 7904 Anne Court, Clinton, Maryland 20735,
       in Prince Georges County, Maryland, and legally described as:
       A PARCEL OF LAND LOCATED IN THE CITY OF CLINTON, COUNTY

                                               1
           Case 6:18-bk-06437-KSJ          Doc 8      Filed 10/31/18    Page 54 of 56



       OF PRINCE GEORGES, STATE OF MARYLAND, AND KNOWN AS:
       BEING LOT NUMBER 4 BLOCK 1 IN THE SUBURBAN ESTATES AS
       SHOWN IN THE RECORDED PLAT/MAP THEREOF IN BOOK WWW 55
       PAGE 60 OF PRINCE GEORGES COUNTY RECORDS.
   3. The Order Granting Relief from Stay is entered for the sole purpose of allowing Secured
       Creditor to exercise any and all in rem remedies against the property described above.
       Secured Creditor shall not seek an in personam judgment against Debtor(s).
   4. Secured Creditor is further granted relief in order to contact the Debtor(s) by telephone or
       written correspondence in order to discuss the possibility of a forbearance agreement, loan
       modification, refinance agreement or loan workout/loss mitigation agreement.
   5. Attorneys’ fees in the amount of $345.00 and costs in the amount of $181.00 are awarded
       for the prosecution of this Motion for Relief from Stay, but are not recoverable from the
       Debtor(s) or the Debtor(s)’ Bankruptcy estate.




                                                ###
Attorney, Shreena Augustin, is directed to serve a copy of this order on interested parties and file
a proof of service within 3 days of entry of the order.




                                                 2
           Case 6:18-bk-06437-KSJ         Doc 8     Filed 10/31/18    Page 55 of 56




                        UNITED STATES BANKRUPTCY COURT
                           MIDDLE DISTRICT OF FLORIDA
                                ORLANDO DIVISION
                                www.flmb.uscourts.gov

 IN RE:                                                         CASE NO.: 6:18-bk-06437-KSJ
                                                                                 CHAPTER
 James S. Pendergraft, IV,                     7
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 _________________________________/

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   2. The automatic stay imposed by 11 U.S.C. § 362 is terminated as to the Secured
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       Maryland 20735, in Prince Georges County, Maryland, and legally described as:

                                                1
           Case 6:18-bk-06437-KSJ          Doc 8      Filed 10/31/18    Page 56 of 56



       A PARCEL OF LAND LOCATED IN THE CITY OF CLINTON, COUNTY
       OF PRINCE GEORGES, STATE OF MARYLAND, AND KNOWN AS:
       BEING LOT NUMBER 4 BLOCK 1 IN THE SUBURBAN ESTATES AS
       SHOWN IN THE RECORDED PLAT/MAP THEREOF IN BOOK WWW
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                                                ###
Attorney, Shreena Augustin, is directed to serve a copy of this order on interested parties and file
a proof of service within 3 days of entry of the order.




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